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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


LABORFEST LLC, LARRY WIL-
LIAMS,

     Plaintiffs,
                                                      Case No. SA-19-CV-00060-JKP
v.

CITY OF SAN ANTONIO, JOHN
DOES; UNKNOWN CITY EMPLOY-
EES,

     Defendants.



                                      SHOW CAUSE ORDER

         Before the Court is status of this matter.

         On November 11, 2021, this Court granted the City of San Antonio’s Motion for (Partial)

Summary Judgment and dismissed Larry Williams and Laborfest’s state-law causes of action of

breach of contract, negligence, negligent misrepresentation, fraud, and conversion for lack of

subject matter jurisdiction. ECF No. 110. Following this dismissal, the only remaining causes of

action asserted against the City of San Antonio are those asserted under 42 U.S.C. §§ 1981 and

1983. In a Motion for Leave to File an 11th Amended Complaint, filed on October 26, 2021, Wil-

liams and Laborfest stated they desired to “dismiss the following prior alleged claims which

Plaintiffs no longer wish to pursue, namely, Theft Liability Act, 42 U.S.C. § 1981, and 42 U.S.C.

§ 1983.” ECF No. 106.

         The Court set this matter for a hearing on December 1, 2021, to discuss the parties’ posi-

tions on how this case should proceed following the dismissal of the state-law causes of action
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and Williams and Laborfest’s expressed desire to dismiss the only remaining causes of action

against the City of San Antonio. The hearing concluded without resolution. However, at the

hearing, this Court ordered Williams and Laborfest to file an advisory regarding whether they

wished to proceed to trial on the federal causes of action asserted under 42 U.S.C. §§ 1981 and

1983, or a Joint Stipulation of Dismissal on or before December 6, 2021. The Court entered an

Order requiring the same on December 2, 2021. ECF No. 115. Williams and Laborfest did not

file this advisory. Instead, Williams and Laborfest filed a Response to the City of San Antonio’s

Motion for (Partial) Summary Judgment, which this Court already granted and thereby dismissed

their state-law causes of action of breach of contract, negligence, negligent misrepresentation,

fraud, and conversion for lack of subject matter jurisdiction. ECF Nos. 100, 105, 110.

       On December 8, 2021, Susan Clouthier filed a Notice of Appearance as appellate counsel

for Larry Williams, only. ECF No. 117.

       Based upon Williams and Laborfest’s failure follow this Court’s verbal and written or-

ders to file an advisory on or before December 6, 2021, this Court enters this Show Cause Order.

This Court requires Laborfest and Larry Williams to file a response on or before December 13,

2021, to show cause for their failure to respond to the Court’s Orders dated December 1, 2021

and December 2, 2021. Laborfest and Larry Williams shall also inform the Court in this response

whether they wish to proceed to trial on the federal causes of action asserted under 42 U.S.C. §§

1981 and 1983 that they have indicated to the Court they no longer wish to pursue. If Laborfest

or Larry Williams do not wish to proceed to trial on these causes of action, they shall file a Stipu-

lation of Dismissal on or before December 13, 2021. The case is set for trial on February 23,

2022, and this setting will not be continued. ECF No. 104.




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       Failure to file this response to show cause shall result in sanctions of these parties and

their attorneys and could result in dismissal of the case.

       It is so ORDERED.
       SIGNED this 9th day of December, 2021.




                                       JASON PULLIAM
                                       UNITED STATES DISTRICT JUDGE




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